                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

FRANK RICHARD AGUILAR AND                      §
CYNTHIA NORA AGUILAR                           §
  Plaintiffs,                                  §
                                               §
v.                                             §            Civil Action No. 5:20-cv-1029
                                               §
REGAL CINEMAS, INC.,                           §           Jury Demanded
INDIVIDUALLY AND,                              §
D/B/A ALAMO QUARRY CINEMAS                     §
#440939 AND AAT ALAMO                          §
QUARRY, LLC, INDIVIDUALLY                      §
AND DBA ALAMO QUARRY MARKET                    §
   Defendants.                                 §

      Defendant Regal Cinemas, Inc. (Improperly named as “Regal
     Cinemas, Inc., Individually, And D/B/A Alamo Quarry Cinemas
              #440939”)’s Notice of Removal (Diversity)
TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       1.     Pursuant to Title 28, United States Code, Sections 1332(a)(1), 1441(a-b), and

1446, Regal Cinemas, Inc., Defendant in Cause No. 2020CI13545 in the 224th Judicial District

Court of Bexar County, Texas, files its Notice of Removal to remove this matter from State court

to the United States District Court for the Western District of Texas, San Antonio Division.

Other than the filing of responsive pleadings on behalf of named Defendant, no progress has

been made in the State court suit prior to the filing of this Notice of Removal. As set forth

below, the United States District Court has jurisdiction over this case under Title 28, United

States Code, Section 1332(a), because (1) this is a civil action; (2) complete diversity of

citizenship exists between the parties in interest, as described below, and (3) the amount in

controversy exceeds $75,000.00, exclusive of interest and costs.
       2.      The United States District Court for the Western District of Texas, San Antonio

Division, is the proper Court into which to remove this action under 28 U.S.C. §1441(a-b) and

§1446(a) because this district and division embrace the place in which the removed action was

pending.

                                    Citizenship of the Parties

       3.      Plaintiff Frank Aguilar is a resident and citizen of the State of Texas.

       4.      Plaintiff Cynthia Aguilar is a resident and citizen of the State of Texas.

       5.      Defendant Regal Cinemas, Inc. (Improperly named as “Regal Cinemas, Inc.,

Individually, And D/B/A Alamo Quarry Cinemas #440939”) is an entity organized and existing

under and by virtue of the laws of the State of Tennessee with its principal place of business in

the State of Tennessee.

       6.      Defendant AAT Alamo Quarry, LLC, Individually and D/B/A Alamo Quarry

Market is an entity organized and existing under and by the virtue of laws of the State of

Delaware with its principal place of business in California.

                    Statement of Causes of Action/Amount in Controversy

       7.      As pled in the Plaintiffs’ Original Petition, a true and correct copy of which is

attached hereto, Plaintiffs assert a negligence cause of action against Regal Cinemas, Inc., and

seeks to recover compensatory damages for personal bodily injuries and damages. Plaintiffs

specifically plead for damages in excess of over $200,000.00 but not more than $1,000,000.00.

When removal is sought on the basis of diversity jurisdiction, the sum demanded in good faith in

the initial pleading shall be deemed to be the amount in controversy. 28 U.S.C. §1446(c)(2). It

is facially apparent that the damages sought in this case constitute an amount in controversy in

excess of $75,000. De Aguilar v. Boeing Co., 11 F.3d 55, 57 (5th Cir. 1993); Barton v. Allstate

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Ins. Co., 729 F. Supp. 56, 57 (W.D. Tex. 1990). These facts alone establish that the amount in

controversy in this case meets the jurisdictional requirements for removing a case to federal

court.

                                       Timeliness of Removal

         8.     Defendant Regal Cinemas, Inc., was served with the Citation and Plaintiffs’

Original Petition on August 4, 2020. As required by 28 U.S.C. Section §1446(b)(1), this Notice of

Removal of this civil action is being filed within 30 days after Defendant’s receipt of Plaintiff’s

initial pleading and the date it first ascertained that the case is one which is removable.

                                         Consent to Removal

         9.     Defendant AAT Alamo Quarry, LLC, Individually and D/B/A Alamo Quarry

Market has been served with process and filed its answer in state court on August 31, 2020.

Defendant AAT Alamo Quarry, LLC, Individually and D/B/A Alamo Quarry Market consents to

removal. There are no other known defendants for which joinder in, or consent to, this removal is

necessary.

                             Notice to Adverse Parties and State Court

         10.    A copy of this Notice of Removal has been filed with the Clerk of the 224th District

Court for Bexar County, Texas, where this cause was originally filed, which shall effect the

removal and the State court shall proceed no further unless and until the case is remanded.      28

U.S.C. §1446(d). A copy of this Notice of Removal has also been provided to Plaintiffs’ counsel

as required by 28 U.S.C. §1446(d). Accordingly, all matters in the State court proceeding, including

discovery, is suspended.

                         Compliance with Additional Filing Requirements

         11.    Pursuant to 28 U.S.C. §1446(a) and Local Rule CV-3, the following items are

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being filed with this Court, either as exhibits to this Notice of Removal or as separate

contemporaneous filings:

       (1)     A civil cover sheet (JS 44);

       (2)     True and correct copies of all pleadings, process and orders served against

               this Defendant in this action;

       (3)     True and correct copies of all pleadings served by this Defendant in this

               action;

       (4)     List of all Counsel of Record;

       (5)     Jury Demand.

                                                Prayer

       12.     WHEREFORE, Defendant Regal Cinemas, Inc.’s (Improperly named as “Regal

Cinemas, Inc., Individually, And D/B/A Alamo Quarry Cinemas #440939”) prays that this cause

proceed in this Court as an action properly removed. Defendant further prays that this Court

place this action on its docket for further proceedings as though it had originated in this Court

and that this Court issue all necessary orders.

                                                Respectfully submitted,

                                                BROTHERS ALVARADO PIAZZA & COZORT, P.C.

                                                By:      /s/ Andrew J. Martinez
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                                                Attorneys for Defendant, Regal Cinemas, Inc.


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                              CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing instrument was served upon the
following counsel of record in compliance with Rule 21a of the Texas Rules of Civil Procedure
on this the 31st day of August, 2020.

        VIA FAX AND/OR E-SERVICE                  VIA FAX AND/OR E-SERVICE
        Mr. Jessie J. Ormand                      Kenneth J. Ferguson
        Mr. Ryan King                             Jared L. Byrd
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                                           BROTHERS ALVARADO PIAZZA & COZORT, P.C.

                                           By:    /s/ Andrew J. Martinez
                                                  Andrew J. Martinez




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